                                   Case 2:18-cv-03578-MMB Document 1-1 Filed 08/22/18 Page 1 of 3


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 prov 1ded by ocal rules of court This form, approved by the Jud1c1al Conference oft e l:mted States m September I 974. 1s reqmred for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet 1Sf£ !VSTRUCTJONS ON Nt, PAGE Of T sf ORM)

 L    (a)    PLAINTJF:FS                                                                                            DEFENDANTS
 Carne Youse anat\ilark Youse. w/h                                                                               J61insori & Johnson
                                                                                                                 lmerys Talc America. Inc.

      (b) County of Residence of First Listed Plaintiff                   s_>~.f!O~~ry Q_q_unty,_ PA                County of Residence offirst Listed Defendant                              ~~~l~s~x_ Co_l,!~ty,__"!}
                                   (fXUPl IN US PLAINTIFJ. (A FSJ                                                                                              f!N US PLA/NT1ff ( ASfS ONl Y1
                                                                                                                    NOTE        11' LAND C'ONDE.MNATION CASES LSf THE LOCATION OF
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   (C) Attorneys (f.,rm Name Addresi and Telephone Number;                                                         A ttomeys (If Know ri;
 Jason M Hodnnsky, Esquire                                                                                       John C McMeek1n II, Esquire
 GORI JULIAN & ASSOCIATES. PC                                                                                    Rawle & Henderson, LLP
 360 Lexington Ave. 20th Floor, New York. NY 10017                                                               1339 Chestnut Street. Philadelphia. PA 19107

II. BASIS OF JURISDICTION 1P/acean                                X mOneBuxOnly)                   III. CITIZENSHIP OF PRINCIPAL PARTIES rP1acean r                                                         mOneBoxforP1a1n11f!
                                                                                                              ff or Diversity Cases O n u l ) J                                                  and One Box for Oefendam1
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                                                                                                                                                                              of Busmess In This State

'.J 2 L S Government
            Defendant
                                                    iversity                                            C'11Jzen of Another Stare                 ::J    2       :::J       Incorporated and Pnn<1pal Place         :::J
                                                     1/nd1can: C1azensh1p of Parues m Item /ff)                                                                               of Business In Anothe.r State

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      120 Manne
                                                PERSO'l/>\L INJLR\
                                          ::J JI 0 Airplane
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                                                                         ::J 365 Personal Injury .
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                                                                                                               of Property 21        use 881
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                                                                                                                                                                                                 CJ J76 Qw Tam (31 LSC
::J   I 30 Mdler Ac1                      :J 3 15 Airplane Product                 Produ•t Liab1hty     CJ 690 Other                                                                                    3729(a))
CJ    . 40 1'egot1able Instrument                   Ltabihty             :::J 367 Health Carel
::J   l 50 Recovery of Overpaymert        n J20 Assault. L1bel &                  Phannaceutl-;:.al
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           & Enforcement of Judgmem                 Slander                       Perso)1al Injury                                                        ::J 820 C'opynghts       ::J 4 JO Banks and Banking
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           ( hcl udes \r eterans)         ll J4 5 Manne Product
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 :J 220 Foreclosure               :J 44; Vonng                                                                  Income Sec,unty Act                                 or Defendant)             :-J 899 Admm1strat1ve Procedure
 ::J 2.30 Rem Lease & EJeC tmem   '.1 442 E.mployment           CJ SI 0 Monons to Vacate                                                                 ::J 8 7 J IRS Third Party                    A.c.t/Rev1ew or Appeal of
 '.1 MO Tort; to Land             ::J 44J Housing/                      Sentence                                                                                    2b t.:SC 7609                     Agenc·y Dec1s1on
 CJ 245 Tort Product l iab1hty              Acc.ommodanons      ::J SJO General                                                                                                               ::J 95C C'onslltullonaltty of
::J  290 Al'. Other Real Property ::J 44 5 Amer w!Disab1ht1es ·          ::J
                                                                    535 Death Penalty                                         ·,,,   1 •. •   'Jiii!K                                                 State Statutes
                                            Lmployment              Other•               rJ                462 1'aturat1zanon Application
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V. ORIGIN              rP            1n   One Box Only)
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         Proceed1~g               Sate Court                            Appellate Court                 Reopened                         Another D1stnct                          L1tigat1on ·                   L1t1gatton ·
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                                              Cite the t; S Civil Statute under which you are f!lmg (Do not cite jurisd1cttonal <tatutes unless rli"ersityJ
                     28 USC 1332 D1vers1
VI. CAUSE OF ACTION 1-£:~~:.....!..:~~~~J...._----------------------=----­
                    Bnef description of cause
                                               Alie ed         ersonal in u       mesothel1oma from asbestos/talc
VII. REQt:ESTED IN    J                             CHECK IF THIS IS A CLASS A('TJO';             DEMAND$                                                               CHECK YES only 1f demanded t
     COMPLAINT:                                     L'NDFR RULE 23, f R Cv P                                   75,000 00                                                Jl'RY DEl\1A!'l<D:            '.1 Yes

VIII. RELATED CASE(S)
                                                  (See mstnt' 110n.s;
      IF ANY                                                             Jl:DGc                                                                                DOCKET NL'MBER
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                         Case 2:18-cv-03578-MMB Document 1-1 Filed 08/22/18 Page 2 of 3
                                                                 t:NITED STA TES DISTRICT COLRT
                                                          FOR TJIE EASTER'\' DISTRICT OF PENNSYLVANIA

                                                                                  DESIGNATION FORl\f
                   (to be used by counsel or prose plamtif.fto indicate the category, of the case for the purpose of assignment to the appropriate calendar)

                                                                            102 Roboda Blvd., Royersford, PA 19468
Address of Plamu ff         ----      -- -           -     - - - - - - - - ----                             -    - -      -·--        -   --     -   - - -- - - -
Address of Defendant · - - - - -                                                  1732 N 1st St, San Jose, CA 95112
                                     ------------ - - - - - - - - - - - - - - - - -- - - - - - - - -
Place of Accident, Incident or Transaction: _ _ ... _ _ _ _ _ _ _ _ _ _ _ _ _N~A_______________ _



RELATED CASE, IF ANY:

Case Number                                                               Judge _ _ _ _ _ _ _ _ _ _                                  Date Termmated

Civil cases are deemed related when Yes 1s answered to any of the following questions

      ls this case related to property included m an earlier numbered suit pendmg or w1thm one year
      previously terminated action m this court?
                                                                                                                                          YesD             No[l]
2     Does this case mvolve the same issue of fact or grow out of the same transacuon as a pnor suit
      pendmg or wtthm one year previously terminated act10n m this court 9
                                                                                                                                          YesD             No[l]
3     Does this case mvolve the vahd1ty or mfrmgement of a patent already in suit or any earlier
      numbered case pendmg or w1thm one year previously terminated action of this court 9
                                                                                                                                          YesO             No [l]
4     ls this case a second or successive habeas corpus, social security appeal, or prose c1v1l nghts
      case fikd by the same md1v1dual 9
                                                                                                                                          YesO             No [l]
I certd) that, to my knowledge, the wtthm case                                              ed to any case now pending or wtthm one year prev10usly terrnmated act10n m
this court except as noted above

DATF       08/22/2018                                                                                                                                    81250
                                                                                                                                                Attorney ID # (if applzcable)


('!VIL: (Place a v In one category only)

A            Federal Question Cases                                                               B.    Diversity Jurisdiction Cases.

0      I  Indemnity Contract, Marme Contract, and All Other Contracts                             0     I       Insurance Contract and Other Contracts
0      2  FELA                                                                                    0     2       Airplane Personal lnJUT)'
0      3  Jones Act-Personal lnJul)                                                               0     3       Assault. Defamat10n
0      4  Anlltru5t                                                                               0     4       Manne Personal Iniury
                                                                                                  0     5       Motor Vehicle Personal Iniury
B
0
       5
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          Patent
          Labor-Management Relations
          C1v1l Rights
                                                                                                        6
                                                                                                        7
                                                                                                                Other Personal Injury fPlease specify) . _ _ __ _
                                                                                                                Products L1ab1hty
                                                                                                                                                                         _      __ _ .


0      8 Habeas Corpus                                                                                  8       Products Liability - Asbestos
       9 Secunt1es Act(s) Cases                                                                         9       All other D1vers1ty Cases
B
0
       10 Social Security Review Cases
       II All other federal Question Cases
                                                                                                                fPlease specify) _   _ _    _   _    _   ________ _

          f Please specify) ___ - · _
                                         -               --
                                                  ·- - - - - · -



                                                                               ARBITRA TIO!'; CERTIFICA TJOll;
                                                     (The effect of this cert1ficat1on is to remove the case from el1g1b1/lf) for arburanon)

I.   IDJohn C. McMeekin II                                        ,counselofrecordorproseplamt1ff.doherebycert1fy

     ¥       Pu suant to Local C1v1l Rule 53 2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable m this CIVIi act10n case
             ex ed the sum of $150,000 00 exclusive of interest and co5ts




DATE                    1
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            - · -- -- - - - -         -    -       - -       ..       -     --t-Att;~~ey-at·Law-; Pro .Se Pla~ntif.f - -                        Attorne> ID #(if applzcable)

NOH, A tnal de nova will be a tnal by     JUI)'   only   1f there   has b     compliance WJth F RC P 38

Ov 609 15 2018,1



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             Case 2:18-cv-03578-MMB Document 1-1 Filed 08/22/18 Page 3 of 3



     M\ \\\
     I~ \
                h      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTER~ DISTRICT OF PENNSYLVA~IA

                CIVIL CASE MANAGEMENT TRACK DESIGNATION FOR\1

CARRIE YOL'SE AND :'v'.IARK YOUSE
w/h
                                      Plaintiffs
V.
                                                       CIVIL ACTION
JOHNSON & JOH~SON and
IMERYS TALC A:'v'.IERICA, INC.,
Individually and as Successor-in-Interest to
                                                       No.
                                                                     I~CA !J) 1 ~
Luzenac Group and Cyprus Minerals Co.

                                    Defendants

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for plaintiff
shall complete a Case Management Track Designation Form in all civil cases at the time of filing the
complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse side of this
form.) In the event that a defendant does not agree with the plaintiff regardmg said designation, that
defendant shall, with its first appearance, submit to the clerk of court and serve on the plaintiff and all
other parties, a Case Management Track Designation Form specifying the track to which that defendant
believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE '.\1ANAGEMENT TRACKS:

(a) Habeas Corpus- Cases brought under 28 C.S.C. § 2241through§2255.                                 ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits.                                       ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos.

(e) Special Management·- Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by the
court. (See reverse side of this form for a detailed explanat10n of special management cases.)
                                                                                                     FJ
                                                                                                     ( )

                                                                       ther tracks.                  ( )

8/22/2018                                                                             Defendant
Date                                                                                  Attorney for

215-575-4200                                                      .f.\'lc'.Vleekin@rawle.com
Telephone                                                         E-Mail Address

(Civ. 660) 10102
11940513-1                                                                                   AVG 22 2018.
